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                                                                      1 7CV 5 8 8 WQH MDD
11                                                        Case No,:   --------
12                                                             f      (assigned at time of filing)        J
13                                    Plaintiff(s),
                                                          COMPLAINT
14   v.
15
16
17
                                   Defendant(s).
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     11-------------~
19
20 I.     RELATED CASES
21        a.    Do you have other Civil Case(s) in this or any other federal court?
22                    mes             DNo
23        b.    Ifyes, please list the case numbers here:
24                      ev-11-         1+G-b -01%\l-N''l2:
25 II.    STATEMENT OF CLAIM (Briefly state the facts of your case. Describe Jww
26        each defendant is involved, and tell what each defendant did to you that caused
27        you to file this suit against them. Include names ofany other persons involved,
28        dates,andplaces.)         3-M~L.S I-~

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 1 IV.      DEMAND FOR JURY TRIAL (Would you like a trial by jury on all claims
 2          pursuant to FRCP, Rule 38?)
 3               OYes         efNo
 4
 5 I declare under penalty of perjury that the foregoing is true and correct.
 6
 7   Date                                    Signature

 8
 9                                           Printed Name

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